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                    CBS Films Buys Untitled Justin Baldoni Pitch In Vein Of ‘The Fault In Our
                    Stars’
                    By Anita Busch
                    January 26, 2017 9:22am




                    REX/Shutterstock


                    EXCLUSIVE: CBS Films has just closed on a pitch deal from writers Mikki Daughtry and Tobias Iaconis for a project that Justin Baldoni
                    (Jane the Virgin) is attached to direct and produce through his Wayfarer Production Company. The YA story, in the vein of The Fault in
                    Our Stars, is a tear-jerking romancer about two teens with life-threatening illnesses who meet in a hospital and fall in love, despite the fact
                    that their fragile health makes them an imminent danger to each other. The story is about love against all odds. Baldoni will make his
                    feature film directorial debut on either this project or Clouds at Warner Bros.

                                              Claire Wineland is also expected to produce and Mark Ross is overseeing the development for CBS Films. The
                    .                         Fault in Our Stars, which had a similar theme of young love facing down death, was based on the best-selling
                                              book by John Green. On a relativity low production budget, the film ended up grossing $307M worldwide after it
                    was released in June of 2014.

                    Daughtry and Iaconis are the writing team behind The Children at New Line which Atomic Monster and Emile Gladstone are producing
                    and Michael Chaves is directing.

                    Baldoni is repped by The Gotham Group. Daughtry and Iaconis are repped by Paradigm, Madhouse and the law firm of McKuin Frankel
                    Whitehead.




                         This article was printed from https://deadline.com/2017/01/cbs-films-here-now-ya-movie-pitch-mikki-daughtry-tobias-iaconis-
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